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                           DECLARATION OF PATRICK PAIGE

       I, PATRICK PAIGE, DO HEREBY DECLARE:

       1.     I am over the age of eighteen (18) and otherwise competent to make this

declaration. The facts stated in this declaration are based upon my personal knowledge.

       2.      I was a police officer from 1989 until 2011 for the Palm Beach County Sherriff s

Department. And, from 2000-2011, I was a detective in the computer crimes unit.

       3.     As a detective in the computer crimes unit, I investigated internet child

pornography and computer crime cases.

       4.     I have conducted forensic computer examinations for:

              (a)     Broward County Sheriff's Office (BSO);

              (b)     Federal Bureau of Investigation (FBI);

              (c)     U.S. Customs and Border Protection (CBP);

              (d)     Florida Department of Law Enforcement (FDLE);

              (e)     U.S. Secret Service;

              (f)     Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF); and

              (g)     Various municipalities in the jurisdiction of Palm Beach County.

       5.     I was also previously assigned to a police unit working in conjunction with TLO

Corp., which is a private company.

       6.     When I worked with TLO Corp., l supervised the other detectives assigned to the

unit, which was consisted of six online investigators and two computer forensic examiners.

       7.     I am familiar with software programs used to investigate computers, including

EnCase and Access Data.




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                                      EXHIBIT B
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       8.     I have taken over 400 hours of courses designed to teach people how to

investigate computers.

       9.     Also, while working from 2003-2011 for Guidance Software, the makers of

EnCase, I have taught over 375 hours of courses in computer forensics ranging from beginner to

advanced levels.

       10.    I have had students in my courses from various government branches, including:

(a) sheriff's offices; (b) FBI agents; (c) ATF agents; (d) agents from the Central Intelligence

Agency, and (e) individuals from other branches of government and the private sector.

       11.    After leaving the Palm Beach County Sherriff's office, I founded Computer

Forensics, LLC, where I am cunently employed.

       12.    I have received the following awards and commendations:

              (a)        1991 - Deputy of the Year, awarded by the 100 Men's Club of Boca
                         Raton & Rotary Club.

              (b)        1997 - Deputy of the Month for June.

              (c)        2001 - Detective of the Month for October.

              (d)        2002 - Outstanding Law Enforcement Officer of the Year, awarded by the
                         United States Justice Department for work in the US. vs. Jerrold Levy
                         case.

              (e)        2003 - U.S. Customs Service Unit Commendation Citation Award for
                         computer forensic work in Operation Hamlet. Operation Hamlet was one
                         ofthe largest rings in the history ofU.S. Customs of individuals who were
                         molesting their own children, and transmitting the images and video via
                         the Internet.

               (f)       2005 - Detective of the Month for December.

               (g)       2007 - Outstanding Law Enforcement Officer of the Year, awarded by the
                         United States Justice Department for work in the US vs. Jimmy Oliver
                         case.




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                   (h)    2008 - Letter of Commendation issued by the FBI for outstanding
                          computer forensic work in the U.S. vs. Frank Grasso case.

        13.        I have been called to testify as a fact and expert witness on numerous occasions in

the field of computer forensics in both trial-level and appellate proceedings before state, federal,

and military courts in Florida, California, New Jersey, and New York.

        14.    No court has ever refused to accept my testimony on the basis that I was not an

expert in computer forensics. My skill set and my reputation are my most important assets in my

current position with Computer Forensics, LLC.

        15.        With regard to my experience investigating child pornography cases, I supervised

police officers whose responsibility it was to establish a successful TCP/IP connection with

persons who were sending pornographic images of children or other illegal content over the

Internet.

        16.        The offenders' IP addresses, as well as the dates and times of the illegal

transmission were recorded.

        17.        An officer would then request that the assistant state attorney subpoena the

corresponding ISPs for the purpose of identifying the subscribers that were transmitting the

illegal content.

        18.        In these cases, the subscribers were not notified by the ISPs that their identity was

being subpoenaed because they could have deleted the images and destroyed the data.

        19.        After receiving the subscribers' identities, we would prepare a search warrant that

would authorize us to enter the subscribers' dwelling and seize all of their computer devices.

        20.        I was directly involved in approximately 200 search wan-ants either by way of

managing the process or performing it personally.




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       21.     I can recall only one instance in all the times that we executed a search warrant

and seized computers where we did not find the illegal content at the dwelling identified in the

search warrant.

       22.     In that one instance, the Wi-Fi cmmection was not password protected, and the

offender was a neighbor behind the residence.

       23.     I never came across a Wi-Fi hacker situation.

       24.     In my opinion, a child pornographer has a greater incentive to hack someone's

Wi-Fi connection than a BitTorrent user because transmission of child pornography is a very

serious crime with heavy criminal penalties, and many offenders can face life sentences if

convicted.

       25.     I tested IPP International U.G. 's ("IPP") IP detection process.

       26.     To do so, I downloaded four public domain movies from the national archive.

       27.        I then encoded text into the videos, so that I would know whether someone that

downloaded that particular movie downloaded the version of the movie that I created.

       28.        I then rented four virtual servers, each of which was connected to the Internet and

used a unique IP addresses.

       29.        I then configured the servers so that all of them were running Windows 2008

server edition, and I put a different BitTorrent client onto each server.

       30.        A BitTorrent "client" is software that enables the BitTorrent protocol to work.

       31.        After installing the BitTorrent clients, I also installed Wireshark onto each server.

"Wireshark" is a program that captures network traffic and creates PCAPs, just as TCP Dump,

which IPP uses, does. A PCAP is like a video recording of all the incoming and outgoing

transactions of a computer.



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       32.     After installing Wireshark onto each of the servers, I transferred the movies from

my local computer to the servers.

       33.     I then used the BitTorrent clients on each of the servers to make .torrent files. I

uploaded these .torrent files onto various torrent websites.

       34.     I then informed IPP of the movie names. Thereafter, TPP sent me screen captures

of the movies I had seeded.

       35.     The screen captures sent by IPP had my codes on them; thus, I knew that IPP had

caught the movies Thad seeded.

       36.     IPP also sent me additional data identifying the IP Address used by each of the

four servers, and sent me PCAPs.

       37.     I reviewed IPP's PCAPs vis-a-vis the PCAP log files created by each of my test

servers, and determined that IPP' s PCAPs match my PCAPs. This could not have happened

unless IPP ' s server was connected to the test server because the transactions would not match.

       38.     From this test, I concluded that IPP's software worked, and had a subpoena been

issued for my IP addresses, it would have revealed my identity.

       FURTHER DECLARANT SAYETH NAUGHT.

                                            DECLARATION

       PURSUANT TO 28 U.S.C. § 1746, I hereby declare under penalty o:f perjury that the

foregoing is true and correct.

       Executed on this 14111 day of March, 2014.




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